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MISDEMEANOR MINUTES:
Time Set:        9:00                                  Date:                          9/11/18               ^     j          .
Time Started:               d                          Presiding Judge:                   I                       LLOy^yC^
Time Ended:           ^   1Q                           Courtroom Deputy: C. Dodge
Recorded by: FTR                                       U.S. Attorney:                 Dee Sterling           ^
                                                       Defense Counsel:                   CJ/\gJ             S^fr\{Adj^
Case Number:                                           (       ) Retained             (       ) Court-appointed
                                                                                      (       ) Waived Counsel
USA V.           (fd win 14 r
COUNTS:          1)
                 2)                   T7
                 3)
                 4)
    PO ( ^Present ( ) In custody ( ) No appearance ( ) Excused Prior to Court
     ) Initial Appearance ( ) Docket Call ( ^ Plea of Guilty ( ) Bench Trial ( ) Jury Trial
         Defendant advised of rights.
         Consent to Proceed before U.S. Magistrate Judge executed and filed in open court.
         Acknowledgment of Rights Form executed and filed in open court.
     ) Government motion: (       ) Warrant (     ) Summons ( ) Continue ( ) DWOP (                         ) DWP
     ) Other                                           ( ) Granted   ( ) Denied
     ) Defendant motion: (      ) Continue (    ) Judgment of Acquittal (              ) Strike
     ) Other                                               (    ) Granted         (       ) Denied
     ) Counsel desired; Court ( ) Directed ( ) Denied ( ) Government not seeking jail time
     Defendant shall reimburse govt. for court appointed counsel at rate of $      ^/mo. begin _
     Defendant will to retain counsel. ( ) Retained Counsel
     Case continued to 9:00 a.m. on
     Bond set                                               with the following conditions of release:
 ) ( )) Probation Office supervision                     5) ( ) Substance abuse testing and if positive
2) ( ) Shall not operate m/v after consuming                       treatment as deemed necessary by PO.
             alcohol                                              6) (      ) Mental health evaluation and treatment
3) (     )  Prohibited from operating a motor vehicle                         as deemed necessary by PO
            unless properly licensed to do so                     7) (      ) No use/possession of narcotic/controlled
4) (      ) No consumption ( ) No excessive use of                            substance unless prescribed by physician
             alcohol                                              8) (      )
(      Proffer                                                     (     Evidence & Witnesses presented
(    ) Statement by Defendant                                      (     PSR WAIVED by all parties
       Found Guilty        ( ) Found Not Guilty                    (     Continued for Pre-sentence Report
(    ) Dismissed by Court                                          (     Advised of Right to Appeal
(    ) Sentencing:
(    ) Defendant remanded to custody
             FINE:                        ASSESSMENT:                            PROCESSING FEE:                      RESTITUTION:
1)$_                              1)$.                                          1)$                                   1)$
2) $_                             2) $.                                         2)$                                   2)$
3)$_                              3)$.                                          3) $                                  3) $
4) $_                             4) $_                                  4) $                                         4) $
(    )   Jail:                             (    ) To be released at 5:00 p.m. today (  ) As special condition of probation
(        Probation:                                            ( ) Supervised Release:
(    ) Driving privileges witHin special maritime and territorial jurisdiction of the United States are suspended for
ONE (1) YEAR.
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